Case 8:05-cv-00692-JSM-TGW Document 133 Filed 01/08/07 Page 1 of 7 PageID 1230




                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 JULIE AMANDA TILTON,

        Plaintiff,

 v.                                                 Case No. 8:05-cv-692-T-30TGW

 PLAYBOY ENTERTAINMENT GROUP,
 INC., et. al,

       Defendants.
 _____________________________________/

                                          ORDER

        THIS CAUSE comes before the Court upon Defendants Time Warner Entertainment-

 Advance/Newhouse Partnership and Cox Communications, Inc.’s Motion to Dismiss

 Plaintiff’s Amended Complaint and Incorporated Memorandum of Law (Dkt. #88), and Julie

 Amanda Tilton’s Amended Response in Opposition to Time Warner Entertainment-

 Advance/Newhouse Partnership and Cox Communications, Inc.’s Motion to Dismiss

 Plaintiff’s Amended Complaint and Incorporated Memorandum of Law (Dkt. #103). The

 Court, having considered the motion, response, memoranda, amended complaint, and being

 otherwise advised in the premises, finds that Defendants’ motion should be granted in part

 and denied in part.

        This case arises out of the filming of certain acts by Plaintiff, Julie Amanda Tilton

 (“Plaintiff” or “Tilton”), and others during the 2001 spring break holiday, and the subsequent

 distribution of those films to the viewing public. Defendants, Time Warner Entertainment-
Case 8:05-cv-00692-JSM-TGW Document 133 Filed 01/08/07 Page 2 of 7 PageID 1231




 Advance/Newhouse Partnership (“Time Warner”) and Cox Communications, Inc. (“Cox”)

 (together, referred to as “Defendants”), are named in Counts 37 through 41 of the Amended

 Complaint. Plaintiff brings the following claims against Defendants: Count 37 - Violations

 of 18 U.S.C. §2252(a); Count 38 - Violations of 18 U.S.C. §2252(A)(a); Count 39 -

 Violations of 18 U.S.C. §1466(A)(a)(1); Count 40 - Common Law Negligence; and Count

 41 - Unjust Enrichment.

                        Motion to Dismiss Standard Under 12(b)(6)

        To warrant dismissal of a complaint under Rule 12(b)(6) of the Federal Rules of Civil

 Procedure, it must be “clear that no relief could be granted under any set of facts that could

 be proved consistent with the allegations.” Blackston v. State of Alabama, 30 F.3d 117, 120

 (11th Cir. 1994), quoting Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). Determining

 the propriety of granting a motion to dismiss requires courts to accept all the factual

 allegations in the complaint as true and to evaluate all inferences derived from those facts in

 the light most favorable to the plaintiff. See Hunnings v. Texaco, Inc., 29 F.3d 1480, 1483

 (11th Cir. 1994). The threshold of sufficiency that a complaint must meet to survive a motion

 to dismiss is exceedingly low. See Ancata v. Prison Health Servs., Inc., 769 F.2d 700, 703

 (11th Cir. 1985). “Unless it appears beyond doubt that the plaintiff can prove no set of facts

 in support of his claim which would entitle him to relief,” the complaint should not be

 dismissed on grounds that it fails to state a claim upon which relief may be granted. Sea

 Vessel, Inc. v. Reyes, 23 F.3d 345, 347 (11th Cir. 1994). Nevertheless, to survive a motion

 to dismiss, a plaintiff must do more than merely “label” his claims. Blumel v. Mylander, 919

                                           Page 2 of 7
Case 8:05-cv-00692-JSM-TGW Document 133 Filed 01/08/07 Page 3 of 7 PageID 1232




 F.Supp. 423, 425 (M.D. Fla. 1996). Moreover, when on the basis of a dispositive issue of

 law no construction of the factual allegations will support the cause of action, dismissal of

 the complaint is appropriate. Marshall County Bd. Of Educ. v. Marshall County Gas Dist.,

 992 F.2d 1171, 1174 (11th Cir. 1993).

                                           Analysis

 I.     Counts 37 and 38 - Violations of the Federal Child Pornography Statutes.

        In support of Defendants’ Motion to Dismiss the Amended Complaint, Defendants

 argue that Plaintiff’s claims in Counts 37 and 38 should be dismissed based on the following

 grounds: (1) Plaintiff is not depicted engaging in sexually explicit conduct; (2) the First

 Amendment prohibits the imposition of liability against the Defendants in these

 circumstances; (3) the videos depicting the Plaintiff are not obscene; (4) Defendants lacked

 knowledge of Plaintiff’s age; (5) Plaintiff was no longer a minor when the Defendants

 allegedly violated the federal act; and (6) Plaintiff has not suffered personal injury or other

 damages from the alleged acts of the Defendants.

        While several of these arguments may be persuasive at summary judgment phase, the

 Court concludes that such arguments raise factual questions for the Court which go beyond

 the four corners of the Amended Complaint. Upon a motion to dismiss under 12(b)(6), the

 Court must accept all the factual allegations in the complaint as true and evaluate all

 inferences derived from those facts in the light most favorable to the Plaintiff. Accordingly,

 the Court concludes that Plaintiff has sufficiently pled a cause of action in Counts 37 and 38

 in order to proceed beyond the motion to dismiss phase of these proceedings. However, the

                                           Page 3 of 7
Case 8:05-cv-00692-JSM-TGW Document 133 Filed 01/08/07 Page 4 of 7 PageID 1233




 Court notes that Plaintiff has several large evidentiary hurdles that it must overcome in the

 future, to wit: Plaintiff must show evidence that Defendants knew that the videos depicted

 a minor (Plaintiff) engaging in sexually explicit conduct as defined by 18 U.S.C. §2256(2),

 and that Defendants continued to transmit and/or distribute the videos after learning of

 Plaintiff’s age.

 II.    Count 39 - Violation of the Obscene Representations of the Sexual Abuse of

        Children Statute.

        Defendants argue that Count 39 should be dismissed because the video at issue does

 not contain obscene material or depict graphic bestiality, sadistic or masochistic abuse, or

 sexual intercourse as required under 18 U.S.C. §1466(A)(a).

        Once again, the Court concludes that such arguments raise factual questions for the

 Court which go beyond the four corners of the Amended Complaint. Plaintiff has alleged

 that “[t]he Broadcast Videos depict the Plaintiff and other minors engaged in sexually-

 explicit conduct and are obscene.”1 Upon a motion to dismiss under 12(b)(6), the Court must

 accept all the factual allegations in the complaint as true and evaluate all inferences derived

 from those facts in the light most favorable to the Plaintiff. Accordingly, the Court concludes

 that Plaintiff has sufficiently pled a cause of action in Count 39 in order to proceed beyond

 the motion to dismiss phase of these proceedings.




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            Paragraph 399 of the Amended Complaint (Dkt. #41).

                                            Page 4 of 7
Case 8:05-cv-00692-JSM-TGW Document 133 Filed 01/08/07 Page 5 of 7 PageID 1234




 III.   Count 40 - Common Law Negligence.

        In Count 40, Plaintiff seeks to bring a negligence action based on Defendants’ breach

 of “a duty of reasonable care not to broadcast or to transmit videos or images depicting the

 minor Plaintiff engaging in sexually-explicit conduct” when they “knew or should have

 known” that Plaintiff was a minor. Defendants argue, in pertinent part, that Plaintiff has

 failed to allege a cognizable common-law duty owed by Defendants to Plaintiff. Defendants

 argument is well taken.

        Plaintiff has not cited, nor is the Court aware, of any Florida case supporting

 Plaintiff’s common law negligence claim based on a breach of “a duty of reasonable care not

 to broadcast or to transmit videos or images depicting the minor Plaintiff engaging in

 sexually-explicit conduct.” There is no known common law or statutory duty under Florida

 law requiring broadcasters to review material that they broadcast in order to determine the

 ages of the individuals depicted in such material prior to transmission or distribution. (If

 Plaintiff can show Defendants had knowledge she was a minor, then liability exists under

 statutory law.) Accordingly, Defendants motion to dismiss Court 40 pursuant to Rule

 12(b)(6) is granted with prejudice.

 IV.    Count 41 - Unjust Enrichment.

        Defendants argue that Count 41 should be dismissed pursuant to Rule 12(b)(6) for

 failure to state a claim upon which relief may be granted. Specifically, Defendants argue that

 Plaintiff has failed to allege any conduct on her part that conferred a direct benefit on

 Defendants; and Plaintiff’s claim is based on the alleged wrongdoing of Defendants, and

                                           Page 5 of 7
Case 8:05-cv-00692-JSM-TGW Document 133 Filed 01/08/07 Page 6 of 7 PageID 1235




 therefore, does not constitute unjust enrichment as a matter of law. Defendants’ argument

 is well taken.

        To state a claim for unjust enrichment, a plaintiff must allege that (1) the plaintiff

 conferred a benefit on the defendant, who had knowledge of the benefit; (2) the defendant

 voluntarily accepted and retained the benefit; and (3) under the circumstances it would be

 inequitable for the defendant to retain the benefit without paying for it. Tooltrend, Inc. v.

 CMT Utensil, SRL, 198 F.3d 802, 805 (11th Cir. 1999).

        The benefit conferred must be a direct benefit. See Huntsman Packaging Corp. v.

 Kerry Packaging Corp., 992 F.Supp. 1439, 1446 (M.D. Fla. 1998). An indirect benefit is not

 sufficient to support a claim for unjust enrichment. See Hunstman at 1446; see also Peoples

 Natl. Bank of Commerce v. First Union Natl. Bank of Fla., 667 So.2d 876, 879 (Fla. 3d DCA

 1996) (dismissing unjust enrichment claim with prejudice where plaintiff “could not and did

 not allege that it had directly conferred a benefit on the defendants”).

        Additionally, a claim for unjust enrichment should be premised on circumstances

 under which it would be inequitable for the defendant to retain the benefit without paying for

 it. State v. Tenet Health Care Corp., 420 F.Supp.2d 1288, 1309 (S.D. Fla. 2005). Liability

 in unjust enrichment has in principle nothing to do with fault. Tenet at 1309. The paradigm

 examples of unjust enrichment are mistaken transfers. Id. Where a plaintiff predicates their

 unjust enrichment claim on the wrongful conduct of a defendant, then the plaintiff’s right of

 recovery, if any, arises from the wrong of the alleged tort rather than unjust enrichment. See

 id.

                                           Page 6 of 7
Case 8:05-cv-00692-JSM-TGW Document 133 Filed 01/08/07 Page 7 of 7 PageID 1236




          In Count 41 of the Amended Complaint, Plaintiff does not allege, and can not allege,

 that she conferred a direct benefit on the Defendants. Further, Plaintiff has improperly based

 her claim for unjust enrichment upon the wrongful conduct of Defendants. Plaintiff’s right

 of recovery, if any, for the alleged wrongful conduct of Defendants arises from a violation

 of statutory law. Since the law of unjust enrichment is concerned solely with enrichments

 that are unjust independently of alleged wrongs, Plaintiff’s unjust enrichment claims must

 be dismissed. See Tenet at 1309. Accordingly, Defendants’ motion to dismiss Count 41

 pursuant to Rule 12 (b)(6) is granted with prejudice.

          It is therefore ORDERED AND ADJUDGED that:

          Defendants Time Warner Entertainment-Advance/Newhouse Partnership and Cox

 Communications, Inc.’s Motion to Dismiss Plaintiff’s Amended Complaint and Incorporated

 Memorandum of Law (Dkt. #88) is GRANTED IN PART AND DENIED IN PART as stated

 herein. Counts 40 and 41 of the Amended Complaint are dismissed with prejudice.

          DONE and ORDERED in Tampa, Florida on January 8, 2007.




 Copies furnished to:
 Counsel/Parties of Record
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                                           Page 7 of 7
